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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

 GARRY STEWART, M.D.                                                        PLAINTIFF

 v.                         CASE NO. 4:17-CV-00338-BSM

 ADVANCED MEDICAL REVIEWS, INC.; J.D.
 HAINES, M.D.; GARY GRAMM, D.O.; DAVID
 CHEN, M.D.; ANNA BELMAN, M.D.; and
 JENNIFER CROWLEY, R.N.                                                 DEFENDANTS

             DEFENDANTS’ BRIEF IN SUPPORT OF MOTION IN LIMINE
                  REGARDING SELECT ARKANSAS STATUTES

                                  I.         Introduction

        At the trial of this case, defendants anticipate that plaintiff, through his

counsel and witnesses, will attempt to elicit testimony about the meaning,

interpretation, or relevance of various Arkansas statutes, including the Arkansas

Peer Review Fairness Act and the Arkansas Chronic Intractable Pain Act. Such an

action would invade the province of the Court, which is to determine what law

applies and the meaning of said law. Therefore, plaintiff should be precluded from

referencing these and other statutes and regulations at the trial of this case.

                                       II.    Argument

        It is axiomatic that statutory application and interpretation are issues of law

that are left for the Court to determine. First Arkansas Bank & Trust v. Gill Elrod

Ragon Owen & Sherman, P.A., 2013 Ark. 159, at 5, 427 S.W.3d 47, 51 (Ark. 2013)

(“The correct application and interpretation of an Arkansas statute is a question of

law. . . .”). Arkansas law applies to this diversity action. Hallstrom v. Ammerman,




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111 F.3d 872, 874 (8th Cir. 1997). But the same principle holds true under federal

law. Daley v. Mattiott Intern., Inc., 415 F.3d 889, 894 (8th Cir. 2005) (holding that

statutory interpretation is a question of federal law). Thus, the existence of legal

matters, such as the meaning and interpretation of statutes and regulations are not

subjects on which witnesses should testify. So. Pine Helicopters, Inc. v. Phoenix

Aviation Managers, Inc., 320 F.3d 838 (8th Cir.2003); Hogan v. Am. Telephone &

Telegraph Co., 812 F.2d 409,411 (8th Cir.1987)). Witnesses, lay or expert, may only

offer opinion testimony to the extent it would be helpful to the factfinder. See Fed.

R. Evid. 701, 702. “Opinion testimony is not helpful to the factfinder if it is couched

as a legal conclusion.” Hogan v. American Tel. & Tel. Co., 812 F.2d 409, 411 (8th

Cir. 1987) (citing Torres v. County of Oakland, 758 F.2d 147, 150 (6th Cir. 1985)).

“Because the judge and not a witness is to instruct the factfinder on the applicable

principles of law, . . . exclusion of opinion testimony is appropriate. . . .” Id. (citing

Torres, 758 F.2d at 151, and Marx & Co. v. Diners’ Club, Inc., 550 F.2d 505, 509–10

(2d Cir. 1977)) (emphasis added) (internal citation omitted).

        Applying these principles, Arkansas federal district courts have excluded

witnesses from offering testimony as to the application and interpretation of

statutes. In McLane v. Rich Transport, Inc., Judge Kristine Baker precluded a

witness from offering a series of opinions regarding the meaning and application of

Federal Motor Carrier Safety Regulations. No. 2:11-CV-00101-KGB, 2012 WL

3996832, at *1–3 (E.D. Ark. Sept. 7, 2012). The basis of Judge Baker’s ruling was




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acknowledgment of the longstanding principle identified above—that is, the

testimony of witnesses should not invade the province of the Court. See id.

        Questions posed by plaintiff’s counsel to expert or lay witnesses regarding the

meaning or application of the Arkansas Peer Review Fairness Act, Arkansas

Chronic Intractable Pain Act, or regulations of the Arkansas Medical Board would

suffer from the same defects as the proffered opinions of the witness in McLane. For

example, during the deposition of Dr. Eric Bravo, defendants’ internal medicine

expert, plaintiff questioned Dr. Bravo about the application of the Chronic

Intractable Pain Act:

        Q. I'm handing you what I've marked as Plaintiff's Exhibit 13. I will
        represent to you that this is a copy of the Arkansas Chronic Intractable
        Pain Treatment Act codified in Arkansas Code Annotated 17-95-701 and
        following.

              Are you familiar with this statute?

        A. I think it was provided in one of the -- I think on a CD-ROM, and I
        think I looked at it briefly, but otherwise not really.

        Q.   If you would, go -- go five pages in.

        A.   Okay.

        Q.   And this is the page I'd like for you to get to.

        A.   This one?

        Q.   Yes. Yep.

               And toward the bottom of that page, do you see subsection (d) that
        starts with based upon evaluation and management of a patient's
        individual needs, a physician may? Then number one says, treat a
        patient who develops chronic intractable pain with a dangerous or
        controlled drug to relieve the patient's pain; two, continue to treat the
        patient for as long as the pain persists; three, treat the pain by
        managing it with dangerous or controlled drugs in amounts or
        combinations that may not be appropriate for treating another medical


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        condition; four, administer large doses of dangerous or controlled drugs
        for pain management if the benefit of relief outweighs the risk of the
        large dose; and five, administer a large dose of a dangerous or controlled
        drug even if its use may increase the risk of death if the the purpose is
        not to cause or assist in the patient's death.

              Did I read that correctly?

        A.   Yes.

        Q. Did you consider this statute when formulating your opinions in
        this case?

        A. No, because this is a statute that refers to treating, and I'll quote it,
        chronic intractable pain, and I've seen patients with chronic intractable
        pain, and these seven patients did not have chronic intractable pain. So
        this statute really doesn't apply.

        Q. So let me give you a specific example. When [REDACTED] was
        removed from the ventilator, did -- let me try to -- how to phrase this
        better.

              Do you contend that none of these patients experienced pain post
        extubation?

                     MR. JUNG: Object to form.

        BY MR. MUSKHELI (CONT.):

        Q.   And I'm talking about the seven patients that you reviewed.

                     MR. JUNG: Object to form, misstates testimony.

                     DR. BRAVO: Yeah, I think based on the records, some did
        have signs of pain or distress, some did not, and what I would say is
        most of them were -- if not all of them were -- were unconscious, and so
        there were no -- and certainly none of them had chronic intractable pain.

        BY MR. MUSKHELI (CONT.):

        Q. Let's talk about chronic first. What's the basis of you saying that
        they didn't have chronic pain?

        A. So typically when we see patients in the hospital who have chronic
        pain, they'll describe a couple of things. One is they'll have pain for
        weeks to months and that they've been on pain pills prescribed to them
        by physicians, a lot of times by pain physicians, for weeks to months,


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        and these are people that take chronic -- or take pain medication on a
        daily basis every day, and like I said, most of them are -- are seeing pain
        specialists.

        Q.   So is it the duration?

        A.    It's the duration for chronic. It's also that they're taking pain
        medicine daily. Those are the -- those are the two main ways to diagnose
        people with chronic pain.

              From a physician standpoint, there are a lot of medications that
        we see that people take, for example, Methadone or Oxycontin or
        Fentanyl patches. Those by the nature of those medications would
        automatically tell you they have chronic pain. You wouldn't use those
        medications for acute pain.

        Q. And let me ask you about the intractable part. You don't believe
        that these patients experienced intractable pain?

                     MR. JUNG: Which patients?

        BY MR. MUSKHELI (CONT.):

        Q.   The seven that you reviewed.

        A. No. I mean, again, based on what I read in the records, the notes,
        the GCS scores, there was no evidence for severe or intractable pain.

        Q. And based on your experience of performing multiple extubations,
        is it reasonable for you to assume that these seven patients did not
        experience intractable pain following extubation?

        A.    Yes. I think it's very reasonable to assume that if you just give
        these patients an average dose of benzodiazepine and an average dose
        of narcotic or opiate before the extubation, then you can manage them
        just like every other terminal extubation, and they don't necessarily
        have intractable pain.

        Q.    Any other reason why you don't believe this statutory section is
        relevant to the standard of care in this case?

        A. Mainly because I read it -- the way I read it says that it's -- it regards
        patients who have chronic intractable pain, and, again, those are the
        patients that have had pain for at least a month who take clearly
        medication and, again, a lot of times are seeing pain specialists.




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See Ex. A, pp. 104:11 – 108:17. Even though Dr. Bravo makes it clear that the

Arkansas Chronic Intractable Pain Act is inapplicable in this case, that

determination is one that should not be made by any question by counsel or answer

by a witness. It is solely for the Court to decide. Thus, plaintiff should be precluded

from referencing any statute or regulation at the trial of this case.

                                  III.   Conclusion

        Issues of law are to be decided by the Court. The application and

interpretation of a statute is an issue of law. Therefore, plaintiff should be

precluded from invading the province of the Court by eliciting any testimony about

the application of the Arkansas Peer Review Fairness Act, the Arkansas Chronic

Intractable Pain Act, Arkansas Medical Board Rules and Regulations, or any other

statute during the trial of this case.



                                         WRIGHT, LINDSEY & JENNINGS LLP
                                         200 West Capitol Avenue, Suite 2300
                                         Little Rock, Arkansas 72201-3699
                                         (501) 371-0808
                                         FAX: (501) 376-9442
                                         E-MAIL: elowther@wlj.com; djung@wlj.com

                                         By     David C. Jung
                                              Edwin L. Lowther, Jr. (81107)
                                              David C. Jung (2013141)
                                              Jessica Pruitt Koehler (2015226)
                                              Attorneys for defendants




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